        Case 3:16-md-02741-VC Document 19086 Filed 08/28/24 Page 1 of 2




                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


  IN RE: ROUNDUP PRODUCTS                            MDL No. 2741
  LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


  This document relates to:                          ORDER RE COMMUNICATION FROM
                                                     PLAINTIFF
  Bray v. Monsanto Co.,
  Case No.: 3:19-cv-05060-VC



       The Court is in receipt of Ms. Bray’s recent communication, which is attached to this

order. The Court is not in a position to assist Ms. Bray any further. Within 28 days of this order,

Ms. Bray must file a statement indicating whether she wishes to: (i) proceed in this case with an

attorney; (ii) proceed in this case representing herself; or (iii) dismiss her case. Those are the

only three choices, and Ms. Bray must pick one. In the event Ms. Bray chooses one of the first

two options, her case will be placed in Wave 9E.



       IT IS SO ORDERED.

Dated: August 28, 2024
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
                  Case 3:16-md-02741-VC Document 19086 Filed 08/28/24 Page 2 of 2




From:                             Beverly Bray <beverly.bray47@gmail.com>
Sent:                             Wednesday, August 21, 2024 8:04 AM
To:                               VC CRD
Subject:                          Me vs Monsanto



CAUTION - EXTERNAL:


I still have not been able to find a law firm to take up my case. I have contacted dozens of firms to no avail. Aimee
Wagstaff gave me a short list of firms but so far no luck with them. She doesn't respond to my emails. The last I heard
from her more than 2 weeks ago she accused me of telling firms I contacted that she was my attorney which is not true.
I would not do that because it isn't true.

I don't know where to turn or what my options are. Could you please advise.

Thank you,
Beverly Bray
 CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
 attachments or clicking on links.
